






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00479-CV






Eric Red, Appellant


v.


Stephen W. Sather, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GN-06-002609, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		The clerk's record in this appeal is overdue and the fee for its preparation has not been
paid.  This Court's clerk sent notice by letter dated February 23, 2007 to counsel for appellant Eric
Red warning that if appellant did not pay for the record, arrange to pay for the record, or
otherwise&nbsp;respond to the letter by March 5, 2007, this appeal would be dismissed.  No response has
been filed&nbsp;in this appeal. (1)

		Based on the absence of a clerk's record, the absence of payment or arrangements to
pay for the clerk's record, and the absence of any response to this Court's clerk's notice to appellant
regarding the overdue clerk's record, we dismiss this appeal for want of prosecution.



						                                                                                     

						G. Alan Waldrop, Justice

Before Justices Puryear, Pemberton and Waldrop

Dismissed for Want of Prosecution

Filed:   April 27, 2007
1.   Appellant Eric Red filed a motion in another appeal pending in this Court, seeking to
consolidate this appeal into that appeal.  Red v. Doherty, No. 03-06-00478-CV.  The motions and
responses in that appeal indicate that these two appeals arise from the same original cause number. 
Red settled with appellee here, Stephen W. Sather, and the trial court severed claims regarding
Sather from the remainder of the cause.  Red nevertheless filed a notice of appeal in this cause
attempting to avoid a waiver of his right to challenge the rulings that are challenged in the other
appeal in the severed cause.  This Court overruled the motion to consolidate in the other appeal,
coincidentally on the same date as the clerk sent the notice of overdue clerk's record in this appeal.


